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 7

 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10    MICHELLE L. PRONTI,                     Case No. 2:22-cv-00248
11                    Plaintiff,

12          v.

13
      LEWIS MCDONNELL &
14    ASSOCIATES,

15                    Defendant.

16
           NOW COMES MICHELLE L. PRONTI (“Plaintiff”), by and through her
17

18   undersigned attorneys, complaining of the Defendant, LEWIS MCDONNELL &
19   ASSOCIATES, (“Defendant”) as follows:
20
                                   NATURE OF THE ACTION
21

22   1.   Plaintiff brings this action seeking redress for Defendant’s violations of the Fair
23   Debt Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692.
24
                                   JURISDICTION AND VENUE
25

26   2.   Subject matter jurisdiction is conferred upon this Court by the FDCPA and 28
27
     U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.
28
                                                1
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 1   3.   Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant is
 2
     domiciled and conducts business in the Central District of California, and a
 3

 4   substantial portion of events or omissions giving rise to the claims occurred within

 5   the Central District of California.
 6
                                           PARTIES
 7

 8   4.   Plaintiff is a natural person over 18-years-of-age who resides in Elmira, New
 9   York.
10
     5.   Plaintiff is a “consumer” as the term is defined by 15 U.S.C. §1692a(3).
11

12   6.   Defendant is a third-party debt collector that uses the mail and telephone for
13   the principal purpose of collecting defaulted debts from consumers on a nationwide
14
     basis, including consumers in the state of New York. Defendant maintains its
15

16   principal place of business at 2321 E. 4th St. Ste C405, Santa Ana, CA 92705.
17   7.   Defendant is a personal and corporate financial planning firm that offer debt
18
     collection agency with the primary purpose of collecting or attempting to collect
19

20   defaulted consumer debts owed or allegedly owed to others. Defendant is engaged in
21
     the business of collecting or attempting to collect, directly or indirectly, defaulted
22
     debts owed or due or asserted to be owed or due to others using the mail and/or
23

24   telephone, including consumers in the state of New York.
25
                        FACTS SUPPORTING CAUSE OF ACTION
26
     8.   In or around January 2022, Plaintiff was made aware that the Defendant was
27

28   reporting a debt for $724.00 on her TransUnion and Experian credit reports. (“subject
                                                2
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 1   debt”).
 2
     9.    Plaintiff is in the process of purchasing a home and is carefully monitoring her
 3

 4   credit report.

 5   10.   Plaintiff was perplexed as to why Defendant was reporting this alleged debt
 6
     because she did not owe this debt.
 7

 8   11.   Shortly thereafter, Plaintiff contacted the Defendant to inquire as to why it was
 9   reporting a collection on her credit report.
10
     12.   Plaintiff asked Defendant what type of company they were and Defendant
11

12   notified her that they were a company who handled collections.
13   13.   Plaintiff then asked Defendant for the collection number as they tried to verify
14
     her identify which then the Defendant transferred her to the collections department.
15

16   14.   Prior to the Defendant transferring her to the collections department Plaintiff
17   asked for Defendant’s agents name and Defendant replied with “I don’t have to give
18
     you that information.”
19

20   15.   Once transferred to the collections department, Plaintiff notified Defendant that
21
     she is disputing this account and Defendant’s representative notified Plaintiff that she
22
     could not dispute over the phone.
23

24   16.   Frustrated with the situation Plaintiff then notified the Defendant that through
25
     the FDCPA she was allowed to dispute over the phone and that they must mark her
26
     account as disputed.
27

28   17.   Defendant then replied that they will not mark her account and that she will
                                                    3
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 1   need to go through the credit bureaus.
 2
     18.     Soon thereafter, Plaintiff was notified that the Defendant had also placed
 3

 4   numerous calls to several family members specifically her mother, father and sister.

 5   19.     Plaintiff’s sister was notified by Defendant that they were looking for Plaintiff
 6
     in regards to a legal matter and that she was listed as an emergency contact.
 7

 8   20.     Defendant acted intentionally when it contacted Plaintiff’s family members and
 9   disclosed that were collecting on a debt that Plaintiff owes in a blatant attempt to
10
     harass, abuse and dragoon Plaintiff into making an immediate payment on the subject
11

12   debt.
13   21.     Defendant’s harassing conduct has severely disputed Plaintiff’s general well-
14
     being as Plaintiff now feels embarrassed and humiliated.
15

16   22.     At no time did Plaintiff wish for her family to know about her financial situation
17   as she was unaware of this debt. The unauthorized disclosures made to Plaintiff’s
18
     family members have severely disturbed Plaintiff’s relationship with them.
19

20   23.     Plaintiff now fears that Defendant will continue to contact other relatives of
21
     Plaintiff, further causing more undue embarrassment and invasion of her privacy.
22
     24.     Concerned about the violations of her rights, Plaintiff was forced to seek the
23

24   assistance of counsel to file this action to prevent Defendant from further harassment
25
     to her and her family.
26
                                            DAMAGES
27

28   25.     Defendant’s harassing and unfair collection conduct has severely disrupted
                                                   4
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 1   Plaintiff’s daily life and general well-being.
 2
     26.   Defendant’s illegal collection activities have caused Plaintiff actual harm,
 3

 4   including but not limited to, invasion of privacy, nuisance, intrusion upon and

 5   occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time,
 6
     emotional distress, aggravation that accompanies unsolicited debt collection efforts,
 7

 8   harassment, emotional distress, anxiety, and loss of concentration.
 9   27.   Concerned about the violations of her rights and invasion of her privacy,
10
     Plaintiff sought the assistance of counsel to permanently cease Defendant’s
11

12   collection efforts.
13          COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION
14
                                      PRACTICES ACT
15

16   28.   Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth
17   herein.
18
     29.   Plaintiff is a “consumer” as defined by FDCPA §1692a(3).
19

20   30.   The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of
21
     a transaction due or asserted to be owed or due to another for personal, family, or
22
     household purposes.
23

24   31.   Defendant is a “debt collector” as defined by §1692a(6) because it’s a business,
25
     the principal purpose of which, is the collection of debts and uses the mail and/or the
26
     telephones to collect delinquent accounts allegedly owed to a third party.
27

28   32.   Moreover, Defendant is a “debt collector” because it acquired rights to the
                                                 5
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 1   subject debt after it was in default. 15 U.S.C. §1692a(6).
 2
     33.   Defendant used the phone to attempt to collect the subject debt and, as such,
 3

 4   engaged in “communications” as defined in FDCPA §1692a(2).

 5   34.   Defendant’s communications to Plaintiff were made in connection with the
 6
     collection of the subject debt.
 7

 8   35.   Defendant violated 15 U.S.C. §§1692b(2), e, e(10), f and f(1) through its
 9   unlawful debt collection practices.
10
     a.    Violations of FDCPA §1692b
11

12   36.   Defendant violated §1692b(2) when it contacted Plaintiff’s mother, father and
13   sister by calling and revealing Plaintiff’s status as a debtor and other highly personal
14
     and confidential pieces of information.
15

16   b.    Violations of FDCPA §1692e
17   37.   Defendant violated §1692e, and e(10) when it used deceptive means to collect
18
     and/or attempt to collect the subject debt. Defendant knowingly contacted the wrong
19

20   party [Plaintiff’s mother, father and sister] seeking to collect upon a debt owed by
21
     Plaintiff. Through its conduct, Defendant misleadingly represented to Plaintiff that it
22
     had the legal ability to contact Plaintiff’s family when it never had prior consent to
23

24   do so in the first place.
25
     c.    Violations of FDCPA §1692f
26
     38.   Defendant violated §1692f and f(1) when it unfairly and unconscionably
27

28   attempted to collect on a debt by contacting Plaintiff’s mother, father and sister when
                                                 6
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 1   it did not have authority to do so. Defendant repeatedly attempted to coerce Plaintiff
 2
     into making a payment by embarrassing her through calls placed to her family. These
 3

 4   means employed by Defendant only served to humiliate and harass Plaintiff.

 5   39.   Defendant had enough information to be aware of the fact that it was calling
 6
     the wrong person. Nevertheless, it persisted with its calling campaign to the
 7

 8   Plaintiff’s mother, father and sister and knew that its conduct was inconvenient and
 9   harassing to Plaintiff.
10
     40.   As an experienced debt collector, Defendant knew or should have known that
11

12   ramifications of collecting on a debt through incessant harassing phone calls to the
13   phones of consumers that do not legally owe such debt.
14
     41.   Upon information and belief, Defendant systematically attempts to collect debts
15

16   through harassing conduct and has no procedures in place to assure compliance with
17   the FDCPA.
18
     42.   As stated above, Plaintiff was severely harmed by Defendant’s conduct.
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 1   WHEREFORE, Plaintiff MICHELLE L. PRONTI respectfully requests that this
 2
     Honorable Court:
 3

 4   a.   Declaring that the practices complained of herein are unlawful and violate the

 5   aforementioned bodies of law;
 6
     b.   Enjoin Defendant from further contacting Plaintiff or any other relatives;
 7

 8   c.   Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
 9   §1692k(a)(2)(A);
10
     d.   Awarding Plaintiff actual damages, in an amount to be determined at trial, as
11

12   provided under 15 U.S.C. §1692k(a)(1);
13   e.   Awarding Plaintiff costs and reasonable attorney fees as provided under 15
14
     U.S.C. §1692k(a)(3); and
15

16   f.   Awarding any other relief as this Honorable Court deems just and appropriate.
17   Plaintiff demands trial by jury.
18
     DATED: January 12, 2022                            Respectfully submitted,
19

20
                                                        By: /s/ Nicholas M. Wajda
21

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